Case No. 1:13-cr-00392-CMA Document 292 filed 10/10/14 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello

 Criminal Case No. 13-cr-00392-CMA-02

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 2.    JOHN J. PAWELSKI,

       Defendant.



                              ORDER FOR ISSUANCE
                         OF SUBPOENA IN FORMA PAUPERIS



       This matter is before the Court on Defendant Pawelski’s oral request for an Order

 that the following subpoena be issued in forma pauperis. It is, therefore,

       ORDERED AS FOLLOWS:

       1.      That the Clerk of the Court issue a subpoena for the appearance of the

 following witness named to appear in Court for a Jury Trial scheduled to begin November

 3, 2014, at 8:30 AM:

               Arthur Kimbrel
               Colorado Springs, Colorado

       2.      That a United States Marshal for the District of Colorado be permitted to

 serve the subpoena issued herein.
Case No. 1:13-cr-00392-CMA Document 292 filed 10/10/14 USDC Colorado pg 2 of 2




       3.     That the witness fee, mileage and subsistence of said witness be

 paid by the United States Marshal and taxed as costs in favor of the United States.

       DATED: October       10   , 2014

                                                BY THE COURT:



                                                ________________________________
                                                CHRISTINE M. ARGUELLO
                                                United States District Judge




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